Case 1:21-cv-00794-SJB ECFNo.8, PagelID.27 Filed 10/04/21 Pagei1of3

FILED - GR
October 4, 2021 1:03 PM

UNITED STATES DISTRICT COURT cLERO eee
WESTERN DISTRICT OF MICHIGAN © wesTeRN DISTRICT OF MICHIGAN
SOUTHERN DIVISION BY-JMW SCANNED BY: JW; ]6-

DERRICK ('EE SMITH, #267009,

Petitioner/Plaintiff, Cose No 1:21-cv-00794S
VS HON, SALLIEY J. BERENS
PROBABLE CAUSE CONFERENCE BIRECTOR, PRESIDING MAGISTRATE JUDGE
Respondents/Defendonts Et al,

aaa

PRISONER NORTH, PRISONER RHONE, PRISONER PRESTON, PRISONER HAMMOND
PRISONER ELIZRA JOHNSON, PRISONER STERERT, PRISONER HARDY, PRISONER FERGUSON, PRISONER HERRERRA.
PRISONER HARRERRA, PRISONER BEARD, PRISONER ROPER,
PRISONER CHERRY, PRISONER ODUM, PRISONER CLAY, PRISONER FORD,
PRISONER AMBROSE, PRISONER CARTER, PRISONER BANE, PRISONER BLIACKSHERE,

PRISONER MOORE, PRISONER JOHNSON, PRISONER AD PRISONER KLINE,
FOR PRORARLE Ase CONFERENCE REMAND \VINEO-CONFERENCE Ist

Petitioner/Plaintiff, Derrick Uee Cordello-Snith, hereby subnits the obove
nones ond here for plocerent on the list of witnesses to be deposed for the
— i — probable couse conference in the Stote Sistrict Courts. The nones
ore as fo :

PRISONER NORTH, PRISONER RHONE, PRISONER PRESTON, PRISONER HAMMOND PRISONER ELIZRA
JOHNSON, PRISONER SIEBERT, PRISONER HARDY, PRISONER FERGUSON, PRISONER Rae
BRTSONER HARRERAA, PRISOMER PEARD, PRISONER ROPER, PRISONER CHERRY, PRISONER
ODUM, PRISONER cu, PRISONER FORD, PRISONER AMBROSE, PRISONER CARTER, PRISONER
BANE. PRISONER BUACKSHERE, PRISONER MOORE, PRISONER JOHNSON, PRISONER OUMSTEAD
PRISONER KLINE, FOR PROBABLE CAUSE CONEERENCE REMAND VIDEO-CONFERENCE LIST
HEARINGS AND DEPOSITTIONS.

Please ploce this notter for hearing on The Courts Docket ond Notify ne thot it
has in foct been subnitted ond docketed.

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